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                                        IN THE UNITED STATES DISTRICT COURT
                                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

    RP Small Corp
                                                       Plaintiff(s),
    vs.                                                                     Case No.: 19-CV-271-JFH-JFJ

    Ruchir A Kadakia
                                                     Defendant(s).

                                                   AMENDED SCHEDULING ORDER

The agreed motion (dkt #103) to extend scheduling deadlines is granted.

   1.      Closed         MOTIONS FOR JOINDER OF ADDITIONAL PARTIES &/OR AMENDMENT TO PLEADINGS (Filed of Record)

   2.      Closed         EXCHANGE OF PRELIMINARY WITNESS LISTS AND PROPOSED EXHIBITS (Not Filed of Record)

   3.      8/25/2020      DISPOSITIVE MOTIONS CUTOFF Responses and Replies Per Local Rule (Filed of Record)

   4.      8/31/2020      DISCOVERY CUTOFF – Discovery Requests Must be Served 30 Days in Advance of this Date

   5a.     7/19/2020      EXPERT IDENTIFICATION AND REPORTS under Federal Rules Civil Procedure 26(a)(2) (Not Filed of Record)

   5b.     8/6/2020       REBUTTAL EXPERT IDENTIFICATION AND REPORTS (Not Filed of Record)

   6.           X         SETTLEMENT CONFERENCE REQUESTED AFTER

   7a.     10/8/2020      MOTIONS IN LIMINE and DAUBERT MOTIONS CUTOFF (Attorney Meeting to Confer to Resolve Evidentiary Issues
                          Required before Filing)

   7b.     10/22/2020     RESPONSES TO MOTIONS IN LIMINE and DAUBERT MOTIONS

   7c.     10/29/2020     REPLIES TO MOTIONS IN LIMINE and DAUBERT MOTIONS

   8a.     9/30/2020      DEPOSITION/VIDEOTAPED/INTERROGATORY DESIGNATIONS (Filed of Record with Deponent Name, Page, and Line
                          Designations)

   8b.     10/7/2020      COUNTER-DESIGNATIONS (Filed of Record with Deponent Name, Page, and Line Designations)

   8c.     10/14/2020     EXCHANGE OF PRE-MARKED EXHIBITS (Not Filed of Record)

   8d.     10/21/2020     OBJECTIONS TO DESIGNATIONS (Attorney Meeting to Confer to Resolve Objections Required before Filing. Filed Without
                          Transcript)

   8e.     10/21/2020     TRANSCRIPTS ANNOTATED WITH OBJECTIONS (Submit in Hard Copy to Court)

   9.      10/21/2020     PRETRIAL DISCLOSURES - (Under Federal Rule Civil Procedure 26(a)(3) (Filed of Record)

   10.     11/16/2020     AGREED PROPOSED PRETRIAL ORDER - Attorney Conference to Include Agreed Joint Statement of the Case, Stipulations
                          and Final Witness and Exhibit Lists (Submitted Through CM/ECF Proposed Order Intake Box)

   11.     11/23/20       PRETRIAL CONFERENCE at 11:00 am

   12.     12/3/2020      TRIAL BRIEFS, REQUESTED JURY INSTRUCTIONS and VOIR DIRE (Filed of Record)

   13.     12/3/2020      EXCHANGE OF DEMONSTRATIVE EXHIBITS

   14.     12/14/2020     TRIAL DATE: [x] JURY at 9:30 a.m.

   15.     8 days         ESTIMATED TRIAL TIME




                                                                                                             Scheduling Order CV-08 Heil (6/2020)
